         Case 1:19-cv-11452-MKV Document 43 Filed 07/13/21 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK                      USDC SDNY
                                                                               DOCUMENT
 SECURITIES AND EXCHANGE COMMISSION,                                           ELECTRONICALLY FILED
                                                                               DOC #:
                                Plaintiff,                                     DATE FILED: 

                       v.                                            No. 1:19-cv-11452-MKV

 SUNEET SINGAL,
 FIRST CAPITAL REAL ESTATE TRUST INC.,
 FIRST CAPITAL REAL ESTATE ADVISORS, LP,
 and FIRST CAPITAL REAL ESTATE
 INVESTMENTS, LLC,
                      Defendants.


                       FINAL JUDGMENT AS TO DEFENDANT
                  FIRST CAPITAL REAL ESTATE INVESTMENTS, LLC

       The Securities and Exchange Commission (“Commission”) having filed a Complaint and

Defendant First Capital Real Estate Investments, LLC having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this action;

consented to entry of this Final Judgment without admitting or denying the allegations of the

Complaint (except as to jurisdiction); waived findings of fact and conclusions of law; and waived

any right to appeal from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:



                                                 1
          Case 1:19-cv-11452-MKV Document 43 Filed 07/13/21 Page 2 of 5




        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or


                                                  2
         Case 1:19-cv-11452-MKV Document 43 Filed 07/13/21 Page 3 of 5




               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement, jointly and severally with Defendant Suneet Singal, of $3,200,000,

representing net profits gained as a result of the conduct alleged in the Complaint, together with

prejudgment interest thereon in the amount of $676,400.73, for a total of $3,876,400.73.

Defendant shall satisfy this obligation by paying $3,876,400.73 to the Securities and Exchange

Commission pursuant to the terms of the payment schedule set forth in paragraph IV below.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of



                                                 3
         Case 1:19-cv-11452-MKV Document 43 Filed 07/13/21 Page 4 of 5




this Court; First Capital Real Estate Investments, LLC as a defendant in this action; and

specifying that payment is made pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.

       The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by using all collection procedures authorized by law, including, but not limited to,

moving for civil contempt at any time after 30 days following entry of this Final Judgment.

Defendant shall pay post judgment interest on any amounts due after 30 days of the entry of this

Final Judgment pursuant to 28 U.S.C. § 1961.


                                                 IV.

       Defendant shall pay the total of disgorgement and prejudgment interest due of

$3,876,400.73 in two installments to the Commission according to the following schedule: (1)

$250,000 within 30 days of entry of this Final Judgment; and (2) $3,626,400.73 within 120 days

of this Final Judgment. Payments shall be deemed made on the date they are received by the

Commission and shall be applied first to post judgment interest, which accrues pursuant to 28

U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final Judgment. Prior to

making the final payment set forth herein, Defendant shall contact the staff of the Commission

for the amount due for the final payment.

           If Defendant fails to make any payment by the date agreed and/or in the amount

agreed according to the schedule set forth above, all outstanding payments under this Final

Judgment, including post-judgment interest, minus any payments made, shall become due and


                                                  4
         Case 1:19-cv-11452-MKV Document 43 Filed 07/13/21 Page 5 of 5




payable immediately at the discretion of the staff of the Commission without further application

to the Court.


                                                     V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.


                                                     VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

    jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




Dated:-XO\
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                                                           ES DISTRICT JUDGE
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